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                            IN THE UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION


Leila Green Little,    et al.,                           §
                                                         §
      Plaintiffs,                                        §
                                                         §
              v.                                         §   Civil Action No. 1 :22-cv-00424-RP
                                                         §
Llano County, et al.,                                    §

                                                         §
      Defendants.                                        §
                                                         §




                           DECLARATION OF SARAH SALOMON
                     IN SUPPORT OF PLAINTIFFS' MOTION TO COMPEL


        I, Sarah Salomon, declare:

        1.         I am an attorney at BraunHagey & Borden LLP and counsel of record for

Plaintiffs in the above-captioned matter. I make this declaration based on personal knowledge

and if called upon to testify, I could and would testify competently to the facts stated herein.

        2.         Plaintiffs filed a Motion for Expedited Discovery in support of their Motion for

Preliminary Injunction on May 11, 2022. (ECF No. 23.) On June 7, 2022, Defendants withdrew

their Response in Opposition to Plaintiffs' Motion for Expedited Discovery and agreed to

respond to all of Plaintiffs' discovery requests by June 21, 2022. (ECF Nos. 33, 39.)

        3.          On June 22, 2022, Defendants made a production of documents on behalf of the

County and Defendants Milum, Moss, and Wallace. However, Defendants did not include in

their production the list of books that have been removed from shelves from March 31, 2022, to

May 11, 2022 even though that list is responsive to RFPs         1   and 4 (ECF. No. 23-3.)




                                                     1
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        4.       To date, Defendants have only identified the books that were purportedly weeded

between January    1,   2021 and March 31, 2022, though Defendant Milum confirmed on the record

at her deposition that she could easily run a report for books that had been deleted through the

present. Attached hereto as Exhibit    1   are the excerpts of Defendant Milum's deposition cited in

support of this Motion.

        5.       Moreover, despite clear instructions in Plaintiffs' Requests for Production to

produce documents "in their native format" (ECF No. 23-3), Defendants produced all emails as

PDFs stripped of all metadata. On June 26, 2022, Plaintiffs raised the issue of the missing email

attachments with Defendants, who indicated that they would "research the responses and locate

the attachments that are referenced throughout and produce them shortly thereafter." Attached

hereto as Exhibit 2 is the parties' email exchange regarding the deficiencies in Defendants'

discovery responses.

        6.       Despite numerous follow-up communications from Plaintiffs       (See   Ex. 2),

Defendants did not produce any emails with their attachments intact until July 27,       2022two
days prior to the due date for Plaintiffs' Reply regarding their Motion for Preliminary Injunction,

and a full month after the depositions of Jerry Don Moss, Amber Milum, and Bonnie Wallace.

But Defendants again produced the documents in PDF form with metadata stripped, making it

difficult for Plaintiffs to confirm whether Defendants have produced all missing attachments, or

just a selected few.

        7.       Plaintiffs also subsequently learned that Defendants' email collection and

production had been incomplete. According to former Kingsland head librarian Suzette Baker,

she, along with other library personnel, including Amber Milum, were instructed to create Yahoo

accounts from which to conduct official library business. However, it appears Defendants have



                                                    2
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not produced all responsive emails from library personnels' Yahoo accounts. Upon review of

Defendants' production, Plaintiffs have seen few, if any, Yahoo emails.

        8.       Defendants have also refused to produce responsive discovery that would

challenge their supposed "legitimate" bases for weeding the books identified in Plaintiffs Motion

for Preliminary Injunction. During her deposition, Defendant Milum explained that, according to

the Library System's standard weeding procedure, a book is weeded if it has not been checked

out within at least three years. Defendant Milum further explained that she would be able to pull

a report reflecting which books remain on the library shelves despite not having been checked

out in the past three years.

        9.       Plaintiffs requested that report on the record at Ms. Milum's deposition, and after

lodging objections, Defendants agreed to further discussions regarding producing this document.

A month later, despite numerous follow-up communications from Plaintiffs, Defendants have not

produced this report.


        10.      Although the State's Motion to Intervene in this case has not yet been granted,

counsel for Texas attended each deposition and witnesses stated, on the record, that the State's

counsel had been involved in their preparation for questioning. Even though Texas is not a party

to this case, and Defendants are not represented by the Attorney General's office, Defendants'

counsel objected on the grounds of privilege to questions regarding whether any State attorneys

had so much as attended their preparation sessions. Attached hereto as Exhibit 3 are the excerpts

of Defendant Wallace's deposition cited in support of this Motion.
        11.     Finally, Plaintiffs have reached out on numerous occasions to schedule a

conference under Federal Rule of Civil Procedure 26(f). Over the course of multiple weeks,

Defendants simply ignored those communications. Attached hereto as Exhibit 4 is

correspondence between the parties reflecting Plaintiffs' efforts to schedule a Rule 26(f)

conference. On July 28, 2022, I had a meet and confer discussion with Defendants' counsel,
        Case 1:22-cv-00424-RP Document 57-1 Filed 07/29/22 Page 4 of 51




Jonathan Mitchell. Mr. Mitchell informed me that he believed a Rule 26(f) conference would be

premature due to Defendants' pending Motion to Dismiss.

       I swear under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct to the best of my knowledge.




Dated: July 29, 2022                         By:
                                                       )L
                                                     Sarah Salomon
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          EXHIBIT                         I
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1               IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
2                           AUSTIN DIVISION
     LEILA GREEN LITTLE, ET            *
3

     AL.,                              *

                                       *
4
     PLAINTIFFS,                       *

5                                      *   CIVIL ACTION NO.
     VS.                               *   1:22-CV-00424-RP
                                       *
6

     LLANO COUNTY, ET AL.,             *

                                       *
 7

     DEFENDANTS                        *

 8

 9



10              ORAL AND VIDEOTAPED DEPOSITION OF
                           AMBER MILUM
11                        JUNE 28, 2022
                       (REPORTED REMOTELY)
12          ******************************************
13
14            ORAL AND VIDEOTAPED DEPOSITION OF AMBER
15   MILUM, produced as a witness at the instance of the
16   PLAINTIFF(S), and duly sworn, was taken in the
17   above-styled and numbered cause on JUNE 28, 2022,
18   from 9:14 A.M. to 1:19 P.M., before AMY PRIGMORE,
19   CSR, in and for the State of Texas, reported by
20   stenographic means, at the offices of THE WITNESS,
21   Liano, Texas, pursuant to the Federal Rules of
22   Civil Procedure, the First Emergency Order
23   Regarding the COVID-19 State of Disaster, and the
24   provisions stated on the record or attached hereto.
25


                                                              Page   1


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 1
 2
                            APPEARANCES
 3   FOR THE PLAINTIFF(S):
     (REMOTELY)
 4           Pratik Ghosh
             Ellen V. Leonida
 5           Sarah Salomon
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 7           ghosh@braunhagey.com
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 8
 9
     FOR THE DEFENDANT(S):
10   (REMOTELY)
             Dwain K. Rogers
11           LLANO COUNTY ATTORNEY
             Liano County Courthouse
12           801 Ford Street
             Liano, Texas 78643
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14
15   FOR THE DEFENDANT(S):
     (REMOTELY)
16           Jonathan F. Mitchell
             MITCHELL LAW PLLC
17           111 Congress Avenue, Suite 400
             Austin, Texas 78701
18           512-686-3940
             jonathan@mitchell.law
19
20
     FOR THE DEFENDANT(S),                STATE OF TEXAS:
21           Landon A. Wade
             TEXAS ATTORNEY GENERAL
22           300 W 15th St, 10th Fir
             Austin TX 78701
23           landon wade@oag. texas gov
                      .                           .




24
25


                                                              Page     2


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 1   ALSO PRESENT         (REMOTELY):
             Austin Redcay, Videographer
 2           Taleaka Yates
 3

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 1                     PROCEEDINGS
2                                *    *    *



3                      THE VIDEOGRAPHER:            We are on the       09:14:13

4    record at 9:14 a.m.      This begins the video recorded            09:14:33

 5   deposition of Amber Milum, taken in the matter of                  09:14:37

 6   Leila Green Little, et al, versus Liano County, et                 09:14:42

 7   al.                                                                09:14:47

 8                     This deposition is being held                    09:14:48

 9   remotely.   My name Austin Redcay, and I'm the                     09:14:49

10   videographer.     The court reporter is Amy Prigmore,              09:14:53

11   both of us representing Veritext.                                  09:14:55

12                     Will counsel please introduce                    09:14:57

13   themselves for the record, after which the reporter                09:14:59

14   will swear in the witness.                                         09:15:01

15                     MR.   GHOSH:        My name is Pratik Ghosh.     09:15:02

16   That is P-R-A-T-I-K, G-H-O-S-H, of the law firm of                 09 15
                                                                          :      :   04

17   Braun Hagey   &   Borden, on behalf of Plaintiffs.                 09:15:10

18                     MR.   ROGERS:           My name is Dwain         09:15:13

19   Rogers, D-W-A-I-N,      R-O-G-E-R-S, Llano County                  09:15:14

20   attorney,   representing the County and Amber Milum.               09:15:18

21                     MR.   MITCHELL:          Jonathan Mitchell,      09:15:23

22   J-O-N-A-T-H-A-N, M-I-T-C-H-E-L-L,               of Mitchell Law,   09:15:26

23   LLC,   representing the County and Amber Milum.                    09:15:33

24                           AMBER MILUM,

25   having been first duly sworn, testified as follows:

                                                                        Page 6

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 1          Q.   Okay.    Did you do anything to prepare for                 09:20:25

2    this deposition?                                                        09:20:29

 3          A.   (Witness shakes head.)                                      09:20:29

 4          Q.   Okay.    I   --   just one more time, we're just            09:20:35

 5   going to need verbal               verbal answers.                      09:20:38

 6          A.   Yes.                                                        1J4sW
 7          Q.   Okay.    What did you do to prepare for this                09:20:41

 8   deposition?                                                             09:20:45

 9                        MR.      ROGERS:      I'm going to object to       09:20:46

10   the extent this might impinge on attorney-client                        09:20:47

11   privilege.                                                              09:20:50

12                        But go ahead and answer, Ms. Milum.                09:20:50

13          A.   I   spoke to my lawyers,          and went over notes.      09:20:53

14          Q.   (BY MR. GHOSH)         And who are your lawyers?            09:20:57

15          A.   Dwain Rogers, Matt, Landon, and Jonathan.                   09:21:00

16          Q.   And by Landon, are you referring to Landon                  09:21:08

17   Wade?                                                                   09 :21:18

18          A.   Yes.                                                        09:21:18

19          Q.   Okay.    Does Mr.       --   does Mr. Wade, and his         09:21:18

20   office, do they represent you in this action right                      09:21:22

21   now?                                                                    09:21:24

22          A.   I'm not quite sure exactly.                                 09:21:24

23          Q.   Okay.    Okay.       I'm going to just put up a             09:21:30

24   document that's just marked as No.                 1,   on the zip,     09:21:41

25   but I'm going to put it up by your screen.                    Let me    09:21:44

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1    the         who put the book in the library?                            ['Js1flIE

2           A.    I       I   don't remember.                                09 :50   :   06

3           Q.    Okay.       Do you remember weeding the book?              09:50:07

4           A.    No.                                                        09:50:11

            Q.    Let's go to another book that was removed                  09:50:14

6    that same day, called, Being Jazz,                 My Life as a         09:50:20

 7   (Transgender) Teen, by Jazz Jennings.                                   09:50:27

 8                Do you have any knowledge of this title?                   09:50:29

 9          A.    Yes.                                                       09:50:31

10          Q.    Okay.       And what is your,     I   guess, knowledge     09:50:31

11   of the title?                                                           09:50:35

12          A.    I       I've seen it on the shelves.          I've         09:50:37

13   never read it.                                                          09:50:39

14          Q.    Okay.       It looks like this book was also               09:50:40

15   weeded on November 12, 2021.                                            09:50:46

16                Is that right?                                             09:50:48

17          A.    Yes.                                                       09:50:48

18          Q.    Do you know why it was weeded?                             09:50:50

19          A.    Because it had not been getting checked out.               09:50:57

20          Q.    And is         is the practice -- is          is the --    09:50:59

21   what is the rule with regards to a book that isn't                      09:51:07

22   checked out very frequently?                                            09:51:11

23          A.    If    it's not getting checked out at least                09:51:11

24   within three years, we will weed it, because it's                       09:51:15

25   just         it's wasting space, when we could put                      09:51:21

                                                                            Page 31

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1.   something else on the shelves.                                                       09:51:25

 2          Q.   Okay.          And is it your testimony today that                       09:51:25

 3   that was the only reason why Being Jazz was weeded?                                  09:51:32

 4          A.   Yes.                                                                     09:51:37

 5          Q.   It wasn't weeded for any other reason?                                   09:51:38

 6          A.   No.                                                                      09:51:40

 7          Q.   I       just want to direct your attention                               09:51:40

 8   actually, before                I   do that,   if   I   wanted to check              09:51:51

 9   out,    Caste: The Origins of Our Discontents,                        would     I    09:51:53

10   be able to do that from the Liano County Library,                                    09:52:00

11   assuming        I   had a library card?                                              09:52:05

12          A.   It      doesn't look like it's in the system, but                        09:52:06

13   if we had it,              you would be able to.                                     09:52:08

14          Q.   And it looks like that book was, in fact,                                09:52:10

15   checked out last January, January 22nd,                           and two            09:52:13

16   more times other than that.                                                          09:52:18

17               Do you see that?                                                         09:52:20

18          A.   Yes.                                                                     09:52:20

19          Q.   Okay.           So,     given that it has been checked                   09:52:20

20   out in the last three years, at least three times,                                   09:52:25

21   do you know why it would be weeded?                                                  09:52:30

22          A.   I          I    don't.      I   don't know.      It       it could       09:52:32

23   have been damaged, when they brought it back.                               I        09:52:40

24   I   don't remember that                     that one.                                09:52:46

25          Q.   Okay.           I   just want to direct your attention                   09:52:47

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 1   to another book, highlighted here, They Called                       09:52:52

     Themselves the KKK, and then there's                  the rest of    09:52:59

 3   title,   it seems to be cut off.         But it's written by         09:53:01

 4   Susan Campbell Bartoletti.                                           09:53:05

 5             Do you see that entry?                                     09:53:09

 6       A.    Yes.                                                       09:53:10

 7       Q.    It looks like this book was added to the                   09:53:11

 8   library May 17, 2011.                                                09:53:16

 9             Do you see that?                                           09:53:21

10       A.    Yes.                                                       09:53:22

11       Q.   Okay.     Do you know why this book was weeded?             09:53:22

12       A.   Yes,    because it hadn't been checked out.                 09:53:24

13       Q.   And when a book gets weeded, what does the                  09:53:26

14   library do with that book?                                           09:53:34

15       A.    It goes in our Friends of the Library book                 09:53:35

16   sale.    So it's a room in the library, and people                   09:53:39

17   can come in and purchase the book for a donation,                    09:53:42

18   to help support the library.                                         09:53:45

19       Q.   Okay.     I   just want to direct your attention            09:53:47

20   to this very top title.         It looks like this                   09:54:00

21   spreadsheet covers items that were deleted from                      09:54:05

22   January 1st, 2021, through March 31st, 2022.                         09:54:10

23            Have you, you know, tried to create a more                  09:54:17

24   recent report of the      --   the deleted books?                    09:54:24

25       A.   Icro.                                                       09:54:28

                                                                         Page 33

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            Q.    Would you be able to do that?                             09:54:29

 2          A.    Yes.        I    can run a report.                        09   :   54 32

 3          Q.    Okay.           And    and that report would tell         09:54:37

 4:   you        would it be able to tell you all the books                 09:54:43

 5    that have been deleted through the present?                           09:54:45

 6          A.    Yes.                                                      09:54:47

 7          Q.    Okay.           To your knowledge, were any of the        09:54:47

 8    books on this list deleted because they contained                     09:55:00

 9    inappropriate or offensive content?                                   09 :55: 02

10          A.    No.                                                       09:55:04

11          Q.    Have you ever been asked to remove a book                 09:55:05

12    from the library shelves because someone found a                      09:55:14

13    title offensive, or inappropriate?                                    09:55:20

14          A.    Yes,    by patrons.                                       09:55:22

15          Q.    How about by Mr. Ron Cunningham?                          09:55:31

15          A.    No.                                                       09:55:36

17          Q.    How about by Mr. Jerry Don Moss?                          09:55:36

18          A.    It was suggested to.                                      09:55:41

19          Q.    And     -       and which book did he suggest you         09 :55: 54

20    removing?                                                             09:56:00

21          A.    The butt books.                                           09 :56: 00

22          Q.    Okay.           In July 2021,   you spoke to several      09 :56: 06

23    individuals regarding what                    I   guess we'll both    09:56:23

24    call it the butt books.                                               09:56:27

25                Is          is that right?                                09:56:28

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 1   two        within the last three years.                                                11:15:53

 2         A.     Right.                                                                    11:15:57

 3         Q.     But it was still weeded.                                                  11:15:57

 4         A.    And sometimes, we would                        we used to check            11:15:59

 5   out new books, other books, to our display.                                  And       11:16:01

 6   so,   that would actually show a checkout.                                But then     11:16:04

 7   when you would go and look at the report, a person                                     11:16:07

 8   might not have checked it out, you know, but it was                                    11:16:09

 9   on display four times, or                      you -- you know.                        11:16:12

10   It         it could have been that as well.                           I   don't        11:16:14

11   recall.                                                                                11:16:16

12         Q.     Yeah.        And are you able to              - -   to pull a             11 :16:16

13   report,      in       in your sort of ordinary course, of                              11:16:20

14   books that haven't been checked out in the last                                        11:16:26

15   three years, but are still on the shelf?                                               11:16:28

16         A.     Yes.     I       could probably do a report like                          11:16:30

17   that.                                                                                  11:16:34

18                             MR.      GHOSH:    Okay.     I    --    I       think        11:16:42

19   we're going to take a break in one second.                                   Dwain,    11:16:43

20   we         we would like to.request that -- that report.                               11:16:46

21                             I    understand you may have                                 11:16:50

22   objections,         and        -   and,   you should state them on                     11:16:51

23   the record now.                But we would just like to make                          11:16:53

24   that document request, if possible.                                                    11:16:55

25                             MR.      ROGERS:    All right.                               11:17:01

                                                                                           Page 84

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 1                         MR. GHOSH:           And to be clear about                     11:17:02

 2   it, we're just asking for the spreadsheet of books                                   11 17:03
                                                                                            :




 3   that have not been checked out in the past three                                     11:17:07

 4   years, but are still available to be checked out                                     11:17:09

 5   from the library system.                                                             11:17:11

 6                         And if             and sorry.       Court                      11:17:14

 7   Reporter, if you could just wait for Mr. Rogers to                                   11 :17: 16

 8   lodge any response or objection before going off                                     11:17:19

 9   the record.       I   don't want to cut him off.                                     11:17 :22

10                         MR. ROGERS:           Sure.       And   I   guess         I    11:17:25

11   guess the first thing              I    would object to is that it                   11:17:27

12   sounds like that document doesn't exist.                          And       I        11:17:29

13   don't think we have a              --    an RFP on file that would                   11:17:32

14   be -- that that would necessarily even be                                            11:17:37

15   responsive to.                                                                       11:17:42

16                         But,     I   guess,    if we can        -   perhaps,           11:17:50

17   what we can do, Pratik,                 is talk offline and             -            11:17:52

18                         MR.     GHOSH:       Yeah.    That          that's             11:17:56

19   totally fine.         I   just wanted to give you the                                11:17:57

20   opportunity           I   made a request.           I    didn't want                 11:17:58

21   to --    I   didn't want to have the last request for no                             11:18:00

22   reason                                                                               11:18:02

23                         (Multiple voices.)                                             11:18:03

24                         MR.     ROGERS:       Understood.                              11:18:03

25   Understood.       But     I   will lodge those objections at                         11:18:04

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 1   COUNTY OF HARRIS
 2   STATE OF TEXAS
 3

 4                        REPORTER'S CERTIFICATE
 5

 6               I,    AMY PRIGMORE, Certified Shorthand
 7   Reporter in and for the State of Texas, hereby
 8   certify that this transcript is                      a    true record of
 9   the testimony given remotely by the witness named
10   herein,    after said witness was duly sworn remotely
11   by me.
12               I    further certify that the deposition
13   transcript was submitted on
14               to the witness or to the attorney for the
15   witness for examination, signature, and return to
16   me by                               -------------
                                                ,




17               I    further certify the amount of time used
18   by each party at the deposition is as follows:
19               Pratik Ghosh             (OOhOOm)
                 Dwain    K.   Rogers          (OOhOOm)
20               Jonathan      F.   Mitchell              (OOhOOm)
                 Landon A. Wade              (OOhOOm)
21
22               I    further certify that                I    am neither
23   attorney nor counsel for, related to, nor employed
24   by any of the parties to the action in which this
25   testimony was taken.            Further,        I        am not a relative


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 1   or employee of any attorney of record in this

 2    cause, nor do     I   have a financial interest in the
 3   action.
 4               SUBSCRIBED AND SWORN TO by the undersigned
 5   on this the 5TH day of JULY,                2022.
 6

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14
                                      n
                 AMY PRIGMORE, Texas, CSR 3929
15               Expiration Date:           4/30/2023
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From:            Sarah Salomon
To:              Matt Riensfra; Prank Ghosh; Dwain K. Roaers; Jonathan Mitchell; Iandon.wade)oaa.texas.00v
Cc:              Ellen Leonida; Matt Borden; rvanwittJiffcuttercom; katherinewithiffcutter.com; macwittliifcutter.com;
                 Kayna Levy
Subject:         RE: Little et al v. Liano County e
Date:            Friday, July 29, 2022 11:49:00 AM



Counsel,


We have reviewed the documents you uploaded to Dropbox Thursday
afternoon. Unfortunately, the format you have produced these documents in
(as PDFs, with metadata stripped) has made it impossible for us to determine
whether your productionsent less than two days prior to our P1 Reply
deadlinehas fully remedied the                        issue. Furthermore, we have not received the
report, which Ms. Milum stated in her deposition she could easily pull from the
library's system, reflecting which books remain on shelves despite not having
been checked out for the past three years. Nor have we ever received a full
report of the books that were "weeded" from shelves after March 31, 2022a
piece of discovery that is essential given Defendants' explanation that all the
book removals identified in Plaintiffs' Motion were the result of routine
weeding.


We have sought to meet and confer extensively about these issues, to no avail.
We will be moving to compel, and will also note in our papers that we have not
been able to schedule            a   Rule 26(f) conference with Defendants.


Thanks,
Sarah



From: Matt Rienstra <matt.rienstra@co.11ano.tx.us>
Sent: Wednesday, July 27, 2022 3:22 PM
To: Pratik Ghosh <Ghosh@braunhagey.com>; Dwain                 K.   Rogers <drogers@co.11ano.tx.us>; Jonathan
Mitchell <jonathan@mitchell.law>; landon.wade@oag.texas.gov
Cc: Ellen Leonida <Leonida@braunhagey.com>; Matt Borden <borden@braunhagey.com>; Sarah
Salomon <Salomon@braunhagey.com>; ryan@wittliffcutter.com; katherine@wittliffcutter.com;
mac@wittliffcutter.com; Kayna Levy <kayna@wittliffcutter.com>
Subject: RE: Little et al v. Llano County e
         Case 1:22-cv-00424-RP Document 57-1 Filed 07/29/22 Page 21 of 51




       EXTERNAL MESSAGE           '"'
Counsel,


We will be uploading to Dropbox the emails with the attachments this afternoon. In regards to the 2
other documents you requested during depositions we have uploaded the two (2) customer request
in response to Llano County RFP #6. In so far as the remaining document, we are attempting to
locate that document, if it exists.


To my point about "harassment," we have produced enough information that clearly demonstrates
that Bonnie Wallace, Gay Baskin, Rochelle Wells and Rhonda Schneider are not "officials" in any
sense of the word. Requesting that Mrs. Wallace continue to assist your clients vain effort to find a
cause of action is clearly harassment. think it is about time for your clients to dismiss these four
                                             I



civilians from this case.


Truly,
Matthew     L.   Rienstra
1st
      Asst. County Attorney
Llano County Attorney' Office


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it are confidential and intended only for the use of the individual or entity to whom they are
addressed and may contain information that is privileged, confidential and exempt from
disclosure under applicable law. If you are not the intended recipient of this information,
please notify the sender (only) immediately by email and delete the message. You are
notified that any use, dissemination, distribution, or copying of the communication is strictly
prohibited.




From: Pratik Ghosh <Ghoshbraunhagey.com>
Sent: Thursday, July 21, 2022 8:03 PM
To: Matt Rienstra <matt.rienstraco.Ilano.tx.us>; Dwain       K.   Rogers <droersco.Ilano.tx.us>;
Jonathan Mitchell <ionathanmitchell.law>
                <Leonidabraunhaev.com>; Matt Borden <borden(braunhagevcom>; Sarah
Cc: Ellen Leonida
Salomon <Salomonbraunhagey.com>; ryanwittliffcutter.com; katherinewittliffcutter.com;
macwittliffcutter.com; Kayna Levy <kaynawittIiffcutter.com>
Subject:   RE:   Little et al v. Llano County et al


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      caution when clicking links or opening attachments. When in doubt, contact your IT
      Department.
       Case 1:22-cv-00424-RP Document 57-1 Filed 07/29/22 Page 22 of 51




Counsel:


From our review of Defendants' document production, below are the emails that were initially
produced without the accompanying attachments, for each of these documents please identify the
corresponding attachment by bates number:


      County 3 RFP 00116 (1/26/22 Email from Amber Milum)
      County 3 RFP -00168 (11/9/21 Email from Amber Milum)
      County 3   RFP -00215
                         (12/27/21 Email from Amber Milum)
      County 3   RFP     (12/6/21 Email from Amber Milum)
                     -00225
      County 3   RFP -00231
                         (11/15/21 Email from Amber Milum)
      County 3   RFP -00232
                         (11/12/21 Email from Amber Milum)
      County 3 RFP 00234 (11/9/21 Email from Amber Milum)
      Milum 2 RFP 00091 (1/23/22 Email from Gay Baskin)
      Milum 2 RFP 00144 (3/22/22 Email from Gay Baskin)
      Milum 2 RFP 00184 (4/5/22 Email from Amber Milum)
      Milum 2 RFP 00193 (2/7/22 Email from Amber Milum)
      Milum 2 RFP 00197 (2/16/22 Email from Amber MIlum)
      Milum 2 RFP 00245 (1/26/22 Email from Amber Milum)
      Milum 2 RFP 00246 (2/1/22 Email from Amber Milum)
      Milum 2 RFP 00252 (2/7/22 Email from Amber Milum)
      Wallace 2 RFP 00026 (1/17/22 Email from Gay Baskin)
      Wallace 5 RFP 00118 (2/8/22 Email from Bonnie Wallace)
      Wallace 6 RFP 00127 (1/16/22 Email from Bonnie Wallace)


We will once again note that Defendants are in the best position to know which emails were
produced without an attachment.

We do not entirely understand the point you are attempting to make regarding Ms. Wallace being a
"civilian"she is a named defendant     in this litigation and you are representing her. As a   defendant,
she has an obligation to fully respond to discovery requestsdiscovery that you agreed to respond
to. As we have been requesting for more than two weeks now, please immediately (i) identify the
corresponding attachments or (ii) produce all documents in native format as originally requested.
Delaying until next Wednesday is unacceptable, as Plaintiffs' reply brief is due next Friday and we
made this request two weeks ago. If you continue engage in discovery gamesmanship, we reserve
the right to seek appropriate relief from the Court, including all costs and fees incurred as a result of
your obstructionist conduct.

The requests made during Ms. Milum's deposition were for documents that are responsive to
Plaintiffs' REPs and should have already been produced. Namely, Plaintiffs' REPs called for the
production of "all other data complications from which information can be obtained" and RFP No. 6
specifically seeks such data compilations used "in determining which materials to restrict or remove
from the Library System." No additional duces tecum request is required, and no authority exists for
requiring such extraneous procedure in obtaining basic discovery. Please immediately produce (i)        a

report of books in the Llano County Library system that had not been checked out for more than
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three years but were still available to be checked out and (ii) copies of the three reconsideration
forms that Ms. Milum testified to receiving from library patrons.

Please immediately produce the discovery outlined in this emaildiscovery that we have been
repeatedly requesting for over two weeks now.


Best,
Pratik


Pratik   K. Raj Ghosh
BRAUNHASEY            &   BORDEN    LIP

Direct: (415)    715-4302



From: Matt Rienstra <matt.rienstra(co.11ano.tx.us>
Sent: Thursday, July 21, 2022 3:37 PM
To: Pratik Ghosh <Ghoshbraunhagey.com>; Dwain           K.   Rogers <drogersco.11ano.tx.us>; Jonathan
Mitchell <ionathanmitchell.law>
              <Leonida(braunhagev.com>; Matt Borden <bordenbraunhagev.com>; Sarah
Cc: Ellen Leonida
Salomon <Salomonbraunhagey.com>; ryanwittliffcutter.com; katherinewittliffcutter.com;
macwittliffcutter.com;         Kayna Levy <kaynawittliffcutter.com>
Subject:   RE:    Little et al v. Llano County et al



       EXTERNAL MESSAGE

Mr. Ghosh,


Ms. Milum will cross reference her emails that indicated attachments with the attachment that
were subsequently produced to you; hopefully we can produce a list that will assist you by next
Wednesday. will wait until then to determine which of Ms. Milum's emails also correspond to Ms.
                  I



Wallace's emails and attachments before involve Ms. Wallace as she is a civilian, and not an
                                                  I



"official" and has been harassed enough by this lawsuit.

In terms of the document requests made during the depositions, am hesitant to produce as you all
                                                                      I



did not attach a duces tecum to your deposition notice. If you have caselaw to support this request
please provide and will review, discuss with co-counsel and respond.
                          I




Truly,
Matthew     L.   Rienstra
1st
      Asst. County Attorney
Llano County Attorney' Office


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please notify the sender (only) immediately by email and delete the message. You are
notified that any use, dissemination, distribution, or copying of the communication is strictly
prohibited.




From: Pratik Ghosh <Ghoshbraunhagey.com>
Sent: Wednesday, July 20, 2022 3:49 PM
To: Matt Rienstra <matt.rienstraco.11ano.tx.us>; Dwain    K.   Rogers <drogersco.11ano.tx.us>;
Jonathan Mitchell <jonathanämitchell.law>
Cc: Ellen Leonida  <Leonidabraunhagey.com>; Matt Borden <bordenbraunhagev.com>; Sarah
Salomon <Salomonbraunhagey.com>; ryanwittliffcutter.com; katherinewittliffcutter.com;
mac(wittIiffcutter.com: Kayna Levy <kaynawittliffcutter.com>
Subject: RE: Little et al v. Llano County et al


   Caution: This is an external email that includes a suspicious subject or content. Please use
   caution when clicking links or opening attachments. When in doubt, contact your IT
   Department.


Counsel:


It has been nearly two weeks without any response regarding the deficiency I raised in my July 7,
2022 email regarding Defendants failure to identify the corresponding parent emails for the
attachments they produced. Our document requests made clear that all documents were to be
produced in their native formats, not as randomly collected, unsearchable PDFs as Defendants have
opted for. Had Defendants followed this instruction, we would not be faced with this issue now.
Please either (i) identify (by bates number) the corresponding parent email for each of the
attachments produced in your July 6, 2022 supplemental production or (ii) produce all documents in
their native formats as originally requested.

Additionally, please advise on the status of the two document requests that were made during the
deposition of Amber Milum. It has been nearly one month that you initially stated that you would
consider producing these documents which were requested during Ms. Milum's deposition. As a
reminder, these requests were for (i) a report of books in the Liano County Library system that had
not been checked out for more than three years but were still available to be checked out and (ii)
copies of the three reconsideration forms that Ms. Milum testified to receiving from library patrons.


If we cannot resolve these issues by close of business tomorrow, we will seek relief from the Court.


Best,
Pratik


Pratik K. Raj Ghosh
BRAUNHAGEY & BORDEN           a


Direct: (415)   715-4302
         Case 1:22-cv-00424-RP Document 57-1 Filed 07/29/22 Page 25 of 51




From: Pratik Ghosh
Sent: Thursday, July 7, 2022 11:31 AM
To: Matt Rienstra <matt.rienstraco.11ano.tx.us>; Dwain      K.   Rogers <drogersco.11ano.tx.us>;
Jonathan Mitchell <jonathanmitchell.law>
Cc: Ellen Leonida     <Leonidabraunhagey.com>; Matt Borden <bordenbraunhaey.com>; Sarah
Salomon <Salomonbraunhagev.com>; Amy Senia <Seniabraunhagey.com>;
ryanwittliffcutter.com; katherinewfttliffcutter.com; macwittliffcutter.com;          Kayna Levy
<kayna (wittliffcutter.com>
Subject:   RE:   Little et al v. Llano County et al

Matt,

We are in receipt of your supplemental production, which consisted of two PDF documents (one of
which is 141 pages, and the other is 199 pages) seemingly containing attachments to the emails
Defendants previously produced. We are not able to determine from this supplemental production
which of these attachments relates to which email that you have produced. Please identify (by bates
number) the corresponding parent email for each of the attachments produced in your July 6, 2022
supplemental production.

Additionally, please advise on the status of the two document requests that were made during the
deposition of Amber Milum. As a reminder, these requests were for (i) a report of books in the Llano
County Library system that had not been checked out for more than three years but were still
available to be checked out and (ii) copies of the three reconsideration forms that Ms. Milum
testified to receiving from library patrons.

Best,
Pratik



Pratik K. Raj Ghosh
BRAUNHASEY & BORDEN                ii

Direct: (415)    715-4302



From: Matt Rienstra <matt.rienstraco.11ano.tx.us>
Sent: Friday, July 1, 2022 2:59 PM
To: Pratik Ghosh <Ghoshbraunhaey.com>; Dwain          K.   Rogers <drogers(co.11ano.tx.us>; Jonathan
Mitchell <ionathanmitchell.law>
Cc: Ellen Leonida <Leonidabraunhagey.com>; Matt Borden <bordenbraunhagey.com>; Sarah
Salomon <Salomonbraunhagev.com>; Amy Senia <Seniabraunhaev.com>;
ryanwittliffcutter.com; katherinewittliffcutter.com; macwittliffcutter.com;         Kayna Levy
<kavna Wwittliffcuttercom>
Subject:   RE:   Little et al v. Llano County et al
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       EXTERNAL MESSAGE

Pratik,

                                                                                    6th
I   am hoping to have the attachments to you on or before COB Wednesday the               may follow up
with you on Tuesday to be sure about the attachments that you specifically requested during the
                                                   4th
depositions. hope you have
                  I                    a   Happy         of July.

Truly,
Matt
Matthew     L.   Rienstra
1st
      Asst. County Attorney
Llano County Attorney' Office


801 Ford St., Room 111
Llano, TX 78643
(325) 247-7733          ph
(325) 247-7737          fax




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please notify the sender (only) immediately by email and delete the message. You are
notified that any use, dissemination, distribution, or copying of the communication is strictly
prohibited.




From: Pratik Ghosh <Ghoshbraunhagey.com>
Sent: Friday, July        1,   2022 12:37 PM
To: Dwain    K.       Rogers <drogersco.11ano.tx.us>; Matt Rienstra <matt.rienstraco.11ano.tx.us>;
Jonathan Mitchell <jonathanmitchell.law>
              <Leonidabraunhagev.com>; Matt Borden <bordenbraunhagey.com>; Sarah
Cc: Ellen Leonida
Salomon <Salomonbraunhaey.com>; Amy Senia <Senia(braunhagev.com>;
          Case 1:22-cv-00424-RP Document 57-1 Filed 07/29/22 Page 27 of 51




ryan@wittliffcutter.com; katherine@wittliffcutter.com; mac@wittliffcutter.com; Kayna Levy
<kayna wittliffcutter.com>
Subject: RE: Little et al v. Llano County et al


Matt and Dwain,

Following up regarding our request that Defendants produce all attachments to the emails
contained in their document production. As you have requested, we have identified exemplar
emails that were produced without their corresponding attachments. Please advise on when we can
expect Defendants to complete its document production by producing all attachments to the
produced emails.


Further, during the deposition of Amber Milum, made two document requests that you stated that
                                                I



you would consider. First, I requested a report of books in the Llano County Library system that had
not been checked out for more than three years but were still available to be checked out. Ms.
Milum testified that she would be able to obtain such a report from the library's database. Second,    I




requested copies of the three reconsideration forms that Ms. Milum testified to receiving from
library patrons. Please advise on when we can expect to receive these documents.

Best,
Pratik


Pratik   K. Raj   Ghosh
BRAUNHASEY          &   BORDEN   iii'

Direct: (415)   715-4302



From: Sarah Salomon <Salomonbraunhagey.com>
Sent: Monday, June 27, 2022 6:28 PM
To: Matt Rienstra <matt.rienstraco.11ano.tx.us>; Pratik Ghosh <Ghoshbraunhagey.com>;
Jonathan Mitchell <ionathan(mitchelliaw>
Cc: Dwain K. Rogers <drogersco.11ano.tx.us>; Ellen Leonida <Leonidabraunhagey.com>; Amy
Senia<Seniabraunhagev.com>; rvanwittliffcutter.com; katherinewittliffcutter.com;
macwittliffcuner.com; Kayna Levy <kavnawittliffcutter.com>; Matt Borden
<borden braunhaey.com>
Subject: Re: Little et al v. Llano County et al

Counsel,


Given the expedited nature of proceedings, we cannot agree to move the depositions. We will
proceed with the depositions tomorrow and Wednesday, reserving all rights.


Thanks,
Sarah
           Case 1:22-cv-00424-RP Document 57-1 Filed 07/29/22 Page 28 of 51




From: Matt Rienstra <matt.rienstra(co.11anotx.us>
Sent: Monday, June 27, 2022 3:21 PM
To: Sarah Salomon <Salomonbraunhagey.com>; Pratik Ghosh <Ghoshbraunhagev.com>;
Jonathan Mitchell <ionathan(mitchell.law>
Cc: Dwain K. Rogers <drogersco.11ano.tx.us>; Ellen Leonida <Leonidabraunhagey.com>; Amy
Senia<Seniabraunhagev.com>; ryanwittliffcutter.com <ryanwittliffcutter.com>;
katherinewittliffcutter.com <katherine(wittliffcutter.com>; macwittliffcutter.com
<macwittliffcutter.com>; Kayna Levy <kaynawittliffcutter.com>; Matt Borden
<borden         braunhagev.com>
Subject:       RE:   Little et al v. Llano County et al



       EXTERNAL MESSAGE

Counsel,


Since we will be unable to get the attachments to you by your deadline of 5 p.m. today, can we
agree to reschedule the depositions? Hopefully, we can research the responses and locate the
attachments that are referenced throughout and produce them shortly thereafter. Would you be
available to reschedule for July 7 & 8? We have blocked our calendars for those two days. Please
advise.


Truly,
Dwain     K.   Rogers
Llano County Attorney
Matthew L. Rienstra
1st
      Asst. County Attorney
Liano County Attorney' Office


801 Ford St., Room 111
Llano, TX 78643
(325) 247-7733 ph
(325) 247-7737 fax




          D



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please notify the sender (only) immediately by email and delete the message. You are
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From: Sarah Salomon <Salomonbraunhaey.com>
Sent: Monday, June 27, 2022 2:25 PM
To: Matt Rienstra <matt.rienstraco.11ano.tx.us>; Pratik Ghosh <Ghoshbraunhagev.com>;
Jonathan Mitchell <jonathanmitchelI.law>
Cc: Dwain K. Rogers <drogersco.11ano.tx.us>; Ellen Leonida      <Leonidabraunhagey.com>; Amy
Senia <Senia (braunhagevcom>;           ryanwittliffcuttercom; katherinewittliffcutter.com;
macwittliffcutter.com; Kayna          Levy <kaynawfttliffcutter.com>; Matt Borden
<hordenbrijnhagevcom>
Subject:   RE:   Little et al v. Liano County et al


Matt:

From what we can tell, Defendants have included very few, if any, of the
attachments to the emails they have produced as responsive to Plaintiffs'
requests. County 116, 168, 215, 225, 231, 232, 243 and Milum 91, 197,
Wallace 26, and 127 are examples of this issue the emails reference
attachments that are not within the production. These examples are far from
comprehensive, however. Of course, Defendants are best positioned to
ascertain what is missing from their production.


Please provide the missing documents by close of business today.


Thanks,
Sarah



From: Matt Rienstra <matt.rienstra(co.11ano.tx.us>
Sent: Monday, June 27, 2022 10:00 AM
To: Pratik Ghosh <Ghoshbraunhagey.com>; Jonathan Mitchell <ionathanmitchell.law>
                <drogersco.11ano.tx.us>; Ellen Leonida <Leonidabraunhagev.com>; Sarah
Cc: Dwain K. Rogers
Salomon <Salomonbraunhagev.com>; Amy Senia <Seniabraunhagevcom>;
ryanwittli1fcutter.com; katherinewittliffcutter.com; macwittliffcutter.com; Kayna Levy
<kayna(wittliffcutter.com>; Matt Borden <bordenbraunhagey.com>
Subject:   RE:   Little et al v. Llano County et al
          Case 1:22-cv-00424-RP Document 57-1 Filed 07/29/22 Page 30 of 51




    '" EXTERNAL MESSAGE "
Pratik,


Iam not sure which emails and attachments you are referencing. Please provide some more
information.

Truly,
Matt
Matthew L. Rienstra
1St
      Asst. County Attorney
Liano County Attorney' Office


801 Ford St., Room 111
Llano, TX 78643
(325) 247-7733 ph
(325) 247-7737 fax




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please notify the sender (only) immediately by email and delete the message. You are
notified that any use, dissemination, distribution, or copying of the communication is strictly
prohibited.



From: Pratik Ghosh <Ghosh(braunhagey.com>
Sent: Sunday, June 26, 2022 10:13 PM
To: Jonathan Mitchell <ionathanmitchell.law>
                  <drogersco.Ilano.tx.us>; Matt Rienstra <matt.rienstraco.lIano.tx.us>; Ellen
Cc: Dwain K. Rogers
Leonida <Leonidacbraunhagey.com>; Sarah Salomon <Salomon@braunhapey.com>; Amy Senia
<Seniabraunhagey.com>; ryanwittIiffcutter.com; katherinewittliffcutter.com;
macwittliffcutter.com: Kayna Levy <kavna)wittliffcutter.com>; Matt Borden
<bordenbraunhagey.com>
Subject: RE: Little et al v. Llano County et al
         Case 1:22-cv-00424-RP Document 57-1 Filed 07/29/22 Page 31 of 51




Counsel:


Please find Plaintiffs' Amended Objections and Responses to Defendants' First Set   of Interrogatories
(Verified).


Additionally, in reviewing Defendants document production, we have found that the majority of the
emails Defendants have produced are missing their respective attachments. Please produce the
missing attachments by no later than 5PM CT tomorrow, June 27th and please provide confirmation
as soon as possible that you are willing to do so.


Best,
Pratik


Pratik K. Raj Ghosh
BRAUNHAGEY & EORDEN          LLP

Direct: (415)   715-4302



From: Sarah Salomon <Salomonbraunhagey.com>
Sent: Friday, June 24, 2022 10:04 PM
To: Jonathan Mitchell <jonathan(mitchell.law>
Cc: Dwain K. Rogers <drogersco.11ano.tx.us>;    Matt Rienstra <matt.rienstra(co.11ano.tx.us>; Ellen
Leonida <Leonidabraunhaev.com>; Amy Senia <Seniabraunhaey.com>; Pratik Ghosh
<Ghoshbraunhagey.com>; ryanwittliffcutter.com; katherinewittliffcutter.com;
macwittliffcutter.com; Kayna Levy <kayna wittliffcutter.com>; Matt Borden
<borden brunHagev.com>
Subject: RE: Little et al v. Llano County et al


Counsel:


Please find Plaintiffs' Responses to Defendants' First Set of Interrogatories
attached. Verifications will follow on Monday.


Thanks,
Sarah


From: Sarah Salomon
Sent: Thursday, June 23, 2022 2:42 PM
To: Jonathan Mitchell <ionathanmitchell.law>
Cc: Dwain K. Rogers <drogersco.11ano.tx.us>;   Matt Rienstra <mattrienstraco.11ano.tx.us>; Ellen
Leonida <Leonidabraunhagey.com>; Amy Senia <Senia          braunhagey.com>; Pratik Ghosh
<Ghoshbraunhagey.com>; ryanwittliffcutter.com; katherinewittliffcutter.com;
macwittliffcutter.co m; Kayna Levy <kavna wittliffcutter.com>; Matt Borden
<borden braunhaev.com>
        Case 1:22-cv-00424-RP Document 57-1 Filed 07/29/22 Page 32 of 51




Subject:   RE:   Little et al v. Llano County et al


Thanks Jonathan. Please find deposition notices attached.


Please also note that Plaintiffs will be serving their responses to Defendants'
Interrogatories on June 24. Plaintiffs had offered to serve their responses on
June 23 to accommodate a June 24 deadline for Defendants' opposition to the
P1 Motion. Since the Court has not ordered that opposition deadline, we will

serve the responses on the date originally called for by Defendants'
Interrogatories.


Best,
Sarah


From: Jonathan Mitchell <jonatha n mitchell .1gw>
Sent: Wednesday, June 22, 2022 10:51 AM
To: Sarah Salomon <Salomonbraunhagey.com>
Cc: Dwain K. Rogers <drogerswco.11ano.tx.us>;
                                       Matt Rienstra <matt.rienstraco.lIano.tx.us>; Ellen
Leonida <Leonidabraunhagey.com>; Amy Senia <Seniabraunhagev.com>; Pratik Ghosh
<Ghoshä'braunhaev.com>; ryanwittliffcutter.com; katherinewittliffcutter.com;
macwittliffcutter.com; Kayna Levy <kaynawittliffcutter.com>; Matt Borden
<borden     bra unhagey.com>
Subject: Re: Little et al v. Llano County et al



     EXTERNAL MESSAGE



The deposition dates that you propose will work.




        On Jun 20, 2022, at 1:05 PM, Sarah Salomon    <Salomonbraunhagey.com> wrote:

      Jonathan,

      I hope this finds you well. Please let us know your position on the below we're
      happy to jump on a phone call and discuss if needed. Please also confirm that the
      deposition timing that we've proposed below works.

      Best,
      Sarah
 Case 1:22-cv-00424-RP Document 57-1 Filed 07/29/22 Page 33 of 51




From: Sarah Salomort
Sent: Friday, June 17, 2022 12:25 PM
To: Jonathan Mitchell <ionathanmitchett.law>
Cc: Dwain K. Rogers <drogers(äco.11ano.tx.us>; Matt Rienstra
<matt.rienstra(co.11ano.tx.us>; Ellen Leonida <Leonidabraunhagey.com>; Amy Senia
<Seniabraunhagev.com>; Pratik Ghosh <Ghoshbraunhagey.com>;
ryanwittIiffcutter.com; katherine)wittIiffcutter.com; macwittliffcutter.com;    Kayna
Levy <kayna        wittliffcutter.com>; Matt Borden <borden   braunhagev.com>
Subject:   RE:   Little et at v. Liano County et al


Jonathan,

Thanks for your prompt response. We agree that the Court will
appreciate the parties working together on a schedule that will allow
for efficient resolution of our respective motions. To that end,
Plaintiffs propose the below schedule:

Defendants' Opposition to PT: July 15
Plaintiffs' Opposition to MTD: July 15
Plaintiffs' Reply ISO of P1: July 29
Defendants' Reply ISO of MTD: July 29

The above schedule assumes that Plaintiffs will not amend their
Complaint, but will rather oppose the MTD filed by Defendants on
June 8. We agree that it makes sense to request that the Court
schedule a consolidated hearing on both the PT and the MTD to
follow the completion of briefing on both motions. If Defendants
agree to this schedule, we will revise the agreed motion and circulate
a proposed order reflecting ourjoint proposal.

Furthermore, given the deposition dates provided by Matt earlier this
week, we would like to schedule the depositions of Jerry Don Moss
and Amber Milum for June 28, and the deposition of Bonnie Wallace
for June 29. Please confirm those dates work, and we will send
notices.

Thanks,
Sarah
Case 1:22-cv-00424-RP Document 57-1 Filed 07/29/22 Page 34 of 51




From: Jonathan Mitchell <ionathanWmitchell.law>
Sent: Thursday, June 16, 2022 11:16 PM
To: Sarah Salomon <Salomonbraunhagey.com>
Cc: Dwain K. Rogers  <drogersco.11ano.tx.us>; Matt Rienstra
<matt.rienstraco.11ano.tx.us>; Ellen Leonida <Leonidabraunhagev.com>; Amy Senia
<Seniabraunhaeev.com>; Pratik Ghosh <Ghoshbraunhagev.com>;
ryan wittliffcutter.com; katherine wiliffcutter.com; macwittliffcutter.com; Kayna
Levy   <kavnawittliffcutter.com>
Subject: Re: Little et al v. Llano County et al


       EXTERNAL MESSAGE


Sarah:


Thank you for drafting this. think we should include
                                 I                            a   proposed order. If you have
drafted one, please circulate so we can review it before filing.

Also, noticed in footnote 1 that you intend to file a first amended complaint, which
       I



will moot our pending motion to dismiss. Should we consider a proposed briefing
schedule for our new MTD that will enable the MTD to be heard alongside the motion
for preliminary injunction? We don't need to resolve this now, but think it would serve
                                                                             I




judicial economy to have a joint hearing on both motions as there will be similar
arguments raised in both, and think the judge would appreciate our working toward
                                     I



that.



Jonathan




           On Jun 16, 2022, at 2:56 PM, Sarah Salomon
           <Salomonbraunhagey.com> wrote:

           Counsel,


           Please use this version, which we've re-styled as an agreed motion. We've
           also noted our intent, pursuant to Loc.   R.   CV-15, to respond to
           Defendants' motion to dismiss with an amended Complaint.


           Thanks,
           Sarah


           From: Sarah Salomon
 Case 1:22-cv-00424-RP Document 57-1 Filed 07/29/22 Page 35 of 51




       Sent: Thursday, June 16, 2022 1:49 PM
       To: Dwain K. Rogers <drogersco.11ano.tx.us>; Matt Rienstra
       <matt.rienstra(co.11ano.tx.us>; ioriathanmitchell.law
       Cc: Ellen Leonida <Leonidabraunhagey.com>; Amy Senia
       <Seniabraunhagey.com>; Pratik Ghosh
       <Ghosh5braunhagev.com>; ryanwittliffcuttercom; katherinewittliffc
       utter.com; macwittliffcutter.com: Kayna Levy
       <kvn (wittliffcuttprcom>
       Subject: Little et al v. Liano County et al

        Dwain/Jonathan,


        Ihope this finds you well. Please find attached a stipulation reflecting the
        proposed briefing schedule we earlier discussed. Please let us know if you
        have any edits. Once we have your approval, we can get this on file.



       Thanks,
       Sarah Salomon
       BRAUNHAGEY & BORDEN tp
        Direct: (415) 256-7729


       San Francisco (Main Office)

       351 California Street, 10th Floor
       San Francisco, CA    94104
       Tel: (415) 599-0210




       <2022-06-16 Agreed Motion re Briefing Schedule.docx>




Jonathan    F.   Mitchell
Mitchell Law PLLC
111 Congress Avenue, Suite 400
Austin, Texas 78701
(512) 686-3940 (phone)
(512) 686-3941 (fax)
jonatha nmitchell.law
pa pers.ssrn .com/sol3/cf_dev/AbsByAuth .cfm?per id=791842



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       know that you received it. Thank you.

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Jonathan F. Mitchell
Mitchell Law PLLC
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Austin, Texas 78701
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(512) 686-3941 (fax)
ionathan     mitchell.law
ca pers.ssrn .com/sol3/cf dev/AbsByAuth .cfm?oer           idr791842


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           EXHIBIT 3
     Case 1:22-cv-00424-RP Document 57-1 Filed 07/29/22 Page 38 of 51



 1               IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
 2                                 AUSTIN DIVISION
 3     LEILA GREEN LITTLE,          et
       al.,
 4

                Plaintiffs,
 5                                                    CIVIL ACTION
       v.                                         )   NO.   1:22-cv-00424-RP


       LLANO COUNTY, et al.,
 7

                Defendants.
 8

 9

10            REMOTE ORAL AND VIDEOTAPED DEPOSITION OF
11                                 BONNIE WALLACE
12                      Wednesday,          June 29, 2022
13
14              REMOTE ORAL AND VIDEOTAPED DEPOSITION OF
15   BONNIE WALLACE, produced as a witness at the instance of
16   the Plaintiffs,    Leila Green Little, et al., and duly
17   sworn, was taken in the above-styled and numbered cause
18   on the 29th of June,          2022,    from 11:03 a.m.        to 3:17 p.m.,
19   before Sharon Ross, Certified Shorthand Reporter in and
20   for the State of Texas,             reported remotely by
21   computerized stenotype machine, pursuant to the Texas
22   Rules of Civil Procedure and/or any provisions stated on
23   the record or attached hereto.
     Reported by:
24   SHARON ROSS, Texas CSR #1961,
     Hawaii CSR #432,       RMRI    CRR,    CRC
25   Realtime Systems Administrator

                                                                         Page   1


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1                                   APPEARANCES
2
     For Plaintiffs Leila Green Little, et al.:
3         Ms. Sarah Salornon (via webconference)
4         Ms. Ellen V. Leonida (via webconference)
          Mr. Pratik Ghosh (via webconference, when noted)
5         BRAUNHAGEY & BORDEN LLP
          351 California Street, 10th Floor
6         San Francisco, California 94104
          415.599.0210
7         Salomon@braunhagey. corn
          Leonida@braunhagey. corn
 8        Ghosh@braunhagey. corn
 9
     For Defendants Liano County, et al.:
10        Mr. Dwain K. Rogers (via webconference)
11        Llano County Attorney
          Mr. Matthew Rienstra (via webconference)
12        First Assistant County Attorney
          Liano County Courthouse
13        801 Ford Street, Room 111
          Liano, Texas 78643
14        325.247.7733
          Drogers@co. llano. tx us   .




15        Mrienstra@co. llano. tx us     .




16               -and-
17        Mr. Jonathan Mitchell (via webconference)
          MITCHELL LAW PLLC
18        111 Congress Avenue, Suite 400
          Austin, Texas 78701
19        512.686.3940
          Jonathan@mitchell law .




20
21   Also Present:
22        Mr. Landon Wade
23        Ms. TaLeakca Yates
24
25


                                                              Page   2


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 1                                PROCEEDINGS                                       11:03

 2                     THE VIDEOGRAPHER:        We are now on the record            11:03

 3   for the video deposition of Bonnie Wallace.                                    11:03

 4                     The time is 11:03 a.rn., June 29th,          2022, in        11:03

 5   the matter of Leila Green Little, et al. versus Lane                           11:03

 6   County, et al., Civil Action No. l:22-cv-00424                  excuse         11:03

 7   me;   I   said Lane County        Liano County, et al.,       Civil            11:03

 8   Action No.     l:22-cv-00424-RP, being held in the United                      11:03

 9   States District Court for the Western District of Texas,                       11:03

10   Austin Division.                                                               11:03

11                    The court reporter is Sharon Ross.             The            11:03

12   videographer is Gus Phillips, and both are                                     11:03

13   representatives of Veritext Court Reporting.                                   11:03

14                    Will counsel please state their appearances                   11:03

15   for the record, beginning with the plaintiff?                                  11:03

16                    MS.   SALOMON:     Good morning, everyone.           This     11:03

17   is Sarah Salomon of BraunHagey & Borden on behalf of                           11:04

18   plaintiffs.                                                                    11:04

19                    MR. ROGERS:       Good morning.        Dwain Rogers,          11:04

20   Liano County Attorney, representing Defendant and                              11:04

21   defending the deposition today.                                                11:04

22                    MR. MITCHELL:       Jonathan Mitchell from                    11:04

23   Mitchell Law PLLC representing the defendants.                                 11:04

24                    THE VIDEOGRAPHER:         Will the court reporter             11:04

25   please administer the oath?                                                    11:04

                                                                             Page   6


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 1                    THE REPORTER:      Okay.     Ms.      Wallace, if you

 2   could raise your right hand, please,            I   will place you

 3   under oath.

 4                              BONNIE WALLACE,

 5   having been first duly sworn, testified as follows:

 6                                EXAMINATION

 7   BY MS. SALOMON:

 8        Q.   Good morning, Ms. Wallace.            How are you doing          11:04

 9   today?                                                                     11:04

10        A.   I'm blessed.      How are you today, Sarah?                      11:04

11        Q.   Doing well.      Could you please state your full                11:04

12   name for the record?                                                       11:04

13        A.   Yes.    My name is Bonnie Wallace.                               11:04

14        Q.   And,   Ms. Wallace,    have you been deposed before?             11:04

15        A.   I   have, but many years ago.                                    11:04

16        Q.   Since it's been many years ago,               I'm just going     11:05

17   to go over a couple of, you know,           ground rules for               11:05

18   today's proceedings so that we're on the same page.                        11:05

19   Does that sound good?                                                      11:05

20        A.   Yes,   ma'am.                                                    11:05

21        Q.   So even though we're appearing virtually, per                    11:05

22   the oath you swore,       all the answers that you will              you   11:05

23   give today have to be completely true and accurate just                    11:05

24   as if you were testifying in court.                                        11:05

25                    Do you understand that?                                   11:05

                                                                           Page   7


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 1     same objections.         In addition,    I   would instruct the                 11:08

 2     witness not to answer any questions that would go into                          11:08

 3     the content of any meetings with attorneys.                                     11:08

4:           Q.   (BY MS.      SALOMON)   And so that's         a fair point,          11:09

 S     Ms. Wallace.      I   just want to clarify that 11m asking for                  11:09

 C.-   who you met with.         I'm not asking you to go into the                     11:09

 7     content of those conversations.                                                 11:09

 8           A.   I   met with Dwain Rogers and Matt Rienstra.                         11:09

 9           Q.   Did you meet with anyone else?                                       11:09

10           A.   No.                                                                  11:09

11                       MR.    ROGERS:   I   would assert the same                    11:09

12     objections.                                                                     11:09

13           Q.   (BY MS. SALOMON)        Did you have          -   outside of         11:09

14     Mr. Rogers and Mr. Rienstra              I   apologize if I'm                   11:09

15     butchering that pronunciation                dId you speak with                 11:09

16     anyone else about this deposition?                                              11:09

17                       MR. ROGERS:      Let me object to that with                   11:09

18     respect to attorney work product, attorney/client, and                          11:09

19     common interest privilege; and I'm going to instruct the                        11:09

20     witness not to answer that one..                                                11:09

21           Q.   (BY MS.      SALOMON)   Ms.   Wallace, to be clear,            I'm   11:09

22     just asking about who you met with outside of                                   11:09

23     Mr.   Rienstra and Mr. Rogers.                                                  11:09

24                       Are you going          are you going to follow                11:09

25     your counsel's instruction not to answer as to the names                        11:09

                                                                                 Page 11

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 1                         MR. ROGERS:       Same objection.                     15: 06

 2             A.   No.                                                          15 06:




 3             Q.   (BY MS.      SALOMOM)    What about a book that is           15 06:




 4   explaining, you know, the genius of Donald Trump?                   If      15:07

 5   that book was included on the library shelves, the                          15 07:




 6   selection of that book, would you understand that to be                     15:07

 7   an endorsement of those views by Llano County?                              15 07:




 8                         MR. ROGERS:       Same objections.                    15 07:




 9             A.   No.                                                          15   :   07

10             Q.   (BY MS.      SALOMON)   By the same token,      if there     15:07

11   was   a    book talking about the genius of former President                15:07

12   Obama and that was selected for the shelves, would you                      15:07

13   understand that to be an endorsement of that view by                        15 07:




14   Llano County?                                                               15 07:




15                         MR.    ROGERS:    Same objection.                     15:07

16             A.   No.                                                          15:07

17             Q.   (BY MS.      SALOMON)   Ms. Wallace,      you were present   15:07

18   earlier before we went on the record when Mr. Wade                          15 :07

19   indicated that he's not representing any party in this                      15 :07

20   suit;      is that right?                                                   15 07:




21           A.     Iwas.                                                        15 :07

22             Q.   Have you had any conversations with Mr. Wade                 15 07:




23   related to this lawsuit?                                                    15 :08

24           A.     Yes.                                                         15 :08

25             Q.   What was the content of those conversations?                 15   :   08


                                                                          Page 139

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 1                       REPORTER! S CERTIFICATION
 2

 3         I, SHARON ROSS, Certified Shorthand Reporter, do
      hereby certify:
 4

           That on Wednesday, June 29, 2022, at 11:03 a.m.,
 5    appeared before me BONNIE WALLACE, the witness whose
      deposition is contained herein; that prior to being
 6    examined was by me duly sworn;
 7         That the deposition was taken down by me in machine
      shorthand and was thereafter reduced to typewriting;
 8    that the foregoing represents, to the best of my
      ability, a true and correct transcript of the
 9    proceedings had in the foregoing matter.
10         That a request for an opportunity to review and
      make changes to this transcript:
1].

                   Was made by the deponent or a party (and/or
12                 their attorney) prior to the completion of
                   the deposition.
13             X   Was not made by the deponent or a party
                   (and/or their attorney) prior to the
14                 completion of the deposition.
                   Was waived.
15
16         I further certify that I am not an attorney for any
      of the parties hereto, nor in any way concerned with the
17    cause.
18         Dated July    5,   2022.
19
20
21
22
23                  SHARON ROSS, III CSR NO. 432,
24                  TX CSR NO. 1961, CRR, RMR, CRC
25                  Realtime Systems Administrator


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          EXHIBIT 4
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From:               Jonathan Mitchell
To:                 Sarah Salomon
Cc:                 Ellen Leonida; Matt Rienstra; Pratik Ghosh; Dwain K. Roaers; Landon Wade;   rvanwitthffcutter.com;
                    katherine)wittliffcutter.com; maccwittliffcutter.com; Kavna Levy
Subject:            Re: Little et al v. Liano County et al
Date:               Wednesday, July 27, 2022 6:16:14 PM




''    EXTERNAL MESSAGE



I am defending a deposition at 3:00 p.m. eastern time tomorrow (noon pacific). Any time
before that should work.

How about 1 p.m. eastern (10 a.m. pacific)?




        On Jul 27, 2022, at 6:09 PM, Sarah Salomon <Salomon.braunhagev.com>
        wrote:

        Jonathan,


        We are all tied up the rest of this afternoon. We can talk tomorrow between 10-noon.
        Let us know what works.


        Sarah


        From: Jonathan Mitchell <jonathanmitchell.law>
        Sent: Wednesday, July 27, 2022 2:23 PM
        To: Sarah Salomon <Salomonbraunhagey.com>
        Cc: Ellen Leonida<Leonidabraunhagev.com>; Matt Rienstra
        <matt.rienstraco.11ano.tx.us>; Pratik Ghosh <Ghoshbraunhagev.com>; Dwain K.
        Rogers <droersco.11ano.tx.us>; Landon Wade <Landon.Wade(oag.texas.gov>;
        rvanwittliffcutter.com; katherinewittliffcuner.com; macwittliffcutter.com;                               Kayna
        Levy   <kavna(wittliffcutter.com>
        Subject: Re: Little et al v. Liano County et al


        ''     EXTERNAL MESSAGE              "'

        Could one of you please call me to discuss? I'm at (512) 686-3940.
Case 1:22-cv-00424-RP Document 57-1 Filed 07/29/22 Page 47 of 51




    On Jul 27, 2022, at 5:02 PM, Sarah Salomon <SalomonbraunhaRey.com>
   wrote:


   Jonathan,


   As you are doubtless aware, both Rule 26 and      the local rules require
   the parties to conduct a Rule 26(f) conference prior to submitting a
   scheduling order. See Fed. R. Civ. P. 26(f)(2) ("[T]he parties must
    confer as soon as practicableand in any event at least 21 days
    before a scheduling conference is to be held or a scheduling order        is

    due."); L.R. 16(c) ("Not later than 60 days after any appearance of
    any defendant, the parties shall submit      a    proposed scheduling order
    to the court in the form described in subdivision (a). The parties first
    shall confer as required by Rule 26(f)."). We attempted to do so, but
    received no response from Defendants. There is no exception to Rule
    26(f)'s requirements based on a pending motion to dismiss.


    Plaintiffs are available to confer tomorrow at       1   pm PT/3 pm CT, and
    will send an invite. Please let us know if there's a time that works
    better.

    Thanks,
    Sarah


    From: Jonathan Mitchell <ionathanmitchell.law>
    Sent: Tuesday, July 26, 2022 6:13 PM
    To: Sarah Salomon <Salomonbraunhagey.com>
    Cc: Ellen Leonida<Leonidabraunhaev.com>; Matt Rienstra
    <matt.rienstra co.11ano.tx.us>; Pratik Ghosh <Ghoshbraunhagev.com>;
    Dwain K. Rogers <droersco.11ano.tx.us>; Landon Wade
    <La ndon.Wade oag.texas.gov>; ryan wittliffcutter.com;
    katherinewittliffcutter.com; mac wfttliffcutter.com; Kayna Levy
    <kayna wittliffcutter.com>
    Subject: Re: Little et al v. Llano County et al


           EXTERNAL MESSAGE


    Sarah:


    I   apologize for our delayed response on this.


    Inour view it is premature to hold a Rule 26(f) conference when there is       a

    pending motion to dismiss. The entire point of a motion to dismiss is to
Case 1:22-cv-00424-RP Document 57-1 Filed 07/29/22 Page 48 of 51




   allow defendants to seek and obtain dismissal before discovery begins,
   and allow defendants to avoid the burdens of discovery when the plaintiff
   has failed to state a claim. have never heard of a Rule 26(f) conference
                               I



   being held while a motion to dismiss is pending.


   Isthere a deadline in one of the court-approved scheduling orders that
   requires us to hold our Rule 26(f) conference soon? did not see anything
                                                              I



   that would make it necessary for us to schedule our Rule 26(f)
   conference, but perhaps missed something.
                           I




   Jonathan




         On Jul 26, 2022, at 7:01 PM, Sarah Salomon
         <Salomonbraunhaeev.com> wrote:

         Counsel,


         We have asked to schedule         a   Rule 26(f) conference
         several times now with no response. "The attorneys of
         record and all unrepresented parties that have appeared
         in the case are jointly responsible for arranging the
         conference." Fed.     R.   Civ. P. 26(f)(2). There are now no
         less than nine lawyers listed on       your briefs. Surely at
         least one could give us the courtesy of a response.


         If we don't hear back tomorrow about your availability
         for a conference, we will raise the issue with the Court.

         Thanks,
         Sarah




         From: Ellen Leonida <Leonidabraunhaey.com>
         Sent: Wednesday, July 20, 2022 10:3 1 AM
         To: Matt Rienstra <matt.rienstraco.11ano.tx.us>; Pratik
         Ghosh <Ghoshbraunhaey.com>; Dwain               K.       Rogers
         <drogersco.11ano.tx.us>; Jonathan Mitchell
         <lonatha n mitchell.law>
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        Cc: Sarah Salomon   <Salomonbraunhagey.com>;
           üwittliffcutter.com; katherine(wittliffcutter.com;
        rva n
        mac(wittliffcutter.com; Kayna Levy
        <kavn2     wittliffcuttrcom>
        Subject:   RE:   Little et al v. Liano County et al


        Counsel,


        Following up on the below email, please let us know your
        availability for a Rule 26(f) conference.


        Best,
        Ellen Leonida
        BRAUNHAGEY           & BORDEN       tiP

        Direct: (415) 684-7285


        From: Ellen Leonida
        Sent: Wednesday, July 13, 2022 3:18 PM
        To: Matt Rienstra <matt.rienstralco.11ano.tx.us>; Pratik
        Ghosh <Ghoshbraunhaev.com>; Dwain                     K.   Rogers
        <drogersco.11ano.tx.us>; Jonathan Mitchell
        <ionathan mitchell.law>
        Cc: Sarah Salomon       <Salomonbraunhagey.com>;
        ryan (wittliffcutter.com;      katherinewittliffcutter.com;
        macwittliffcutter.com;         Kayna Levy
        <kayna6wittliffcutter.com>
        Subject: Little et at v. Liano County et at

        Counsel,


        Are you available for a Rule 26(f) conference tomorrow or
        Friday?


        Best,
        Ellen Leonida
        BRAUNHAGEY            & BORDEN      LIP

        Direct: (415) 684-7285


        San Francisco (Main Office)
        351 California Street, 10th Floor
        San Francisco, CA   94104
        Tel. & Fax: (415) 599-0210


        New York
        118W 22nd Street, 12th Floor
        New York, NY 10011
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                Tel. & Fax: (646) 829-9403


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       Jonathan     F.   Mitchell
       Mitchell Law       PLLC
       111 Congress Avenue, Suite 400
       Austin, Texas 78701




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Mitchell Law     PLLC
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(512) 686-3941 (fax)
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pa pers.ssrn .com/sol3/cf dev/AbsByAuth .cfm? per id=79 1842




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